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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 HARRY KEVIN WADE,                            )
                                              )
                       Plaintiff,             )
                                              )
        v.                                    ) Case No.: 1:18-cv-2475-TWP-DLP
                                              )
                                              )
 INDIANA DEPARTMENT OF                        )
 CHILD SERVICES, et al.,                      )
                                              )
                       Defendants.            )

                     PLAINTIFF’S REPLY BRIEF IN SUPPORT OF HIS
                         MOTION FOR SUMMARY JUDGMENT

        Plaintiff Harry Kevin Wade, by counsel and pursuant to Federal Rule of Civil Procedure

 56 and Local Rule 56.1, respectfully submits the following Reply Brief in support of his motion

 for summary judgment.

                                   I.
        PLAINTIFF SUBMITTED AND RELIED UPON ADMISSIBLE EVIDENCE

        Contrary to Defendants’ arguments, Plaintiff submitted relevant evidence in support of his

 motion for summary judgment and in support of his brief filed in response to Defendants’ motion

 for summary judgment.       Indeed, Plaintiff relied upon documentary evidence provided by

 Defendants during discovery; Plaintiff relief upon documents submitted by Defendants in support

 of their motion for summary judgment; and Plaintiff relief upon an affidavit that he provided based

 upon his personal knowledge. Therefore, Defendants’ argument regarding Plaintiff’s evidence is

 inapposite.

        Federal Rule of Civil Procedure 56(c)(4) provides that any affidavit or declaration “used

 to support or oppose a motion for summary judgment must be made on personal knowledge, set



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 out facts that would be admissible in evidence, and show that the affiant or declarant is competent

 to testify on the matters stated.” Id.; Ross v. O'Hara, 2019 WL 3410076, * 6 (N.D. Ind. July 29,

 2019). Plaintiff’s affidavit purports to have been signed and verified based upon his personal

 knowledge, and the evidence submitted and the testimony set forth in Plaintiff’s affidavit

 substantiates the fact that the testimony contained within his affidavit is based upon his personal

 knowledge.

        Defendants take issue with Plaintiff’s affidavit in two regards, neither of which carry the

 day for their position. First, Defendants complain that Plaintiff does not specify the policies of

 which he was complained of violating. However, Plaintiff believes that it was clear that the

 policies referred to by him in his affidavit were clear: they were the policies cited by Defendants

 in their motion for summary judgment and of which he was accused of violating that led to his

 termination. Wylie v. Brookdale Senior Living, Inc., 2019 WL 1746292,* 3 (S.D. Ind. Apr. 18,

 2019)(“To the extent that Plaintiff was not clear, he asserts that theses are the policies referred to

 in his affidavit. The party seeking summary judgment must file any evidence that is not already

 in the record that the party relies on to support the motion. Local Rule 56-1(a).”)(emphasis added);

 Stinnett v. Iron Works Gym/Executive Health Spa, Inc., 301 F.3d 610, 613 (7th Cir. 2002)(stating

 that in ruling on a motion for summary judgment, “the court may consider any evidence that would

 be admissible at trial” and “[t]he evidence need not be admissible in form . . . but it must be

 admissible in content”)).

        Second, Defendants’ complaint that Plaintiff’s affidavit contains impermissible opinion

 testimony, specifically whether he violated the policies which led to his termination. Federal Rule

 of Evidence 701(a) allows a lay witness to provide opinion testimony that is limited to an opinion

 that is rationally based on the witness’s perception. Id. “Lay opinion testimony most often takes



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 the form of a summary of firsthand sensory observations and may not provide specialized

 explanations or interpretations that an untrained layman could not make if perceiving the same

 acts or experts.” Tribble v. Evangelides, 670 F.3d 753, 758 (7th Cir. 2012)(internal quotation marks

 and citation omitted).

        In the instant case, Defendants argued extensively in their summary judgment briefs that

 Plaintiff violated DCS’s policies and that these violations led to his termination. Defendants also

 note that Plaintiff was aware of these policies when he allegedly broke them.            Therefore,

 Defendants have acknowledged that Plaintiff possessed the personal knowledge necessary to

 render his opinion that he did not violate any DCS policy. This fact coupled with Plaintiff’s

 affidavit testimony that he never refused to provide counseling services to the transgender client

 referred to Lifeline by Defendant McSween shows that Plaintiff’s testimony, at a minimum, raises

 a question of material fact sufficient to preclude summary judgment in Defendants’ favor. Exhibit

 A at ¶ 15.

        Third, to the extent that Defendants argue that the other evidence cited by Plaintiff does

 not support the argument tendered by him, Plaintiff responds that, at a minimum, the evidence

 cited raises a question of fact that would preclude summary judgment in Defendants’ favor.

 Defendants’ argument improperly invites this Court to make factual findings as to the credibility,

 interpretation, and weight that should be given to the cited evidence, and Plaintiff respectfully

 submits that such a task is for the jury, not for the Court on cross-motions for summary judgment.

 Kurtzhals v. County of Dunn, 969 F.3d 725, 727 (7th Cir. 2020)(holding that, on summary

 judgment courts “do not make credibility determinations, weigh the evidence, or decide which

 inferences to draw from the facts.” )(internal quotation omitted).




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                                            II.
                         BRIDGES PROVIDES THE APPLICABLE TEST

        Next, Defendants argue that the Court should employ the Pickering balancing test in

 deciding the Parties’ cross-motions for summary judgment, not the test set forth by Plaintiff as

 recited by the United States Court of Appeals in Bridges v. Gilbert, 557 F.3d 541, 546 (7th Cir.

 2009). Defendants contend that their position is supported by the United States Supreme Court’s

 holding in Board of County Com’rs, Wabausee County, Kansas v. Umbehr, 518 U.S. 668 (1996).

 Plaintiff asserts that this Court should apply the Bridges test in resolving this case.

        As Plaintiff argued in his summary judgment brief, Defendants want it both ways. When

 Defendants wanted the Court to dismiss his Due Process Claim, they took the position that Plaintiff

 had no grounds to assert such a claim because he was not an employee of the State of Indiana or

 DCS. Now, Defendants want the Court to rule that Plaintiff cannot prevail because he was a de

 facto employee via his contractual status with the DCS. The Court should not permit Defendants

 to have it both ways.

        The Seventh Circuit held in Bridges that, in order “[t]o prevail on a First Amendment

 retaliation claim, [a plaintiff] must ultimately show that (1) he engaged in activity protected by the

 First Amendment; (2) he suffered a deprivation that would likely deter First Amendment activity

 in the future; and (3) the First Amendment activity was at least a motivating factor in the

 Defendants’ decision to take the retaliatory action.” As explained in his summary judgment brief,

 Plaintiff has satisfied this test and is entitled to summary judgment as a result.

        However, to the extent that the Court finds that the Pickering balancing test is the

 appropriate one to apply to this case, the Court should deny the cross-motions for summary

 judgment. In Umbehr, the Supreme Court held the First Amendment protects independent

 contractors from the termination or prevention of automatic renewal of at-will government

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 contracts in retaliation for their exercise of the freedom of speech. Id. at 668. The Seventh Circuit

 summarized this test as follows:

         There are at least two routes to Pickering balancing. See City of San Diego v. Roe,
         543 U.S. 77, 80, 125 S. Ct. 521, 160 L.Ed.2d 410 (2004). The better traveled leads
         across the double threshold established by Connick v. Myers, 461 U.S. 138, 103
         S.Ct. 1684, 75 L.Ed.2d 708 (1983), and Garcetti v. Ceballos, 547 U.S. 410, 126
         S.Ct. 1951, 164 L.Ed.2d 689 (2006). The employee must show under Garcetti that
         she spoke as a citizen rather than an employee, 547 U.S. at 418, 126 S.Ct. 1951,
         and under Connick that she spoke on a matter of public concern rather than “matters
         only of personal interest.” 461 U.S. at 147, 103 S. Ct. 1684.

 Harnishfeger v. United States, 943 F.3d 1105, 1113 (7th Cir. 2019).

         Here, what Defendants have ignored from the very initial encounter is that Plaintiff never

 advised, instructed, or informed Defendants that he could not perform his counseling job to any

 DCS client due to his religious beliefs. On the contrary, both Plaintiff’ affidavit and the emails

 provide on summary judgment show that Plaintiff said that he would be willing to provide the

 counseling services. Plaintiff was simply informing Defendants of his religious beliefs in the event

 that Defendants wanted to obtain a different counselor for the client. At all times, Plaintiff agreed

 to provide counseling services, and he never indicated that he would allow his personal beliefs to

 interfere with his job.

         Nevertheless, Defendants took it upon themselves to see to it that Plaintiff was fired—not

 because he told them that he could not do his job but because he told them of his religious beliefs.

 In this regard, Plaintiff was speaking on a matter of public concern and not simply as an employee

 or as an independent contractor for DCS. Accordingly, the Court should either grant Plaintiff’s

 motion for summary judgment or deny both cross-motions for summary judgment.




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                                   III.
            DEFENDANTS ARE NOT ENTITLED TO QUALIFIED IMMUNITY

        Finally, Defendants are not entitled to qualified immunity. “The affirmative defense of

 qualified immunity protects government officers from liability for actions taken in the course of

 their official duties if their conduct does not violate ‘clearly established statutory or constitutional

 rights of which a reasonable person would have known.’” Hardaway v. Meyerhoff, 734 F.3d 740,

 743 (7th Cir. 2013)(quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). The focus of the

 qualified immunity defense is on whether the official had fair notice that his conduct was unlawful,

 and therefore, “reasonableness is judged against the backdrop of the law at the time of the

 conduct.” Kisela v. Hughes, ___ U.S. ___, 138 S. Ct. 1148, 1152 (2018)(per curiam).

        The Seventh Circuit employs a two-prong test to determine if qualified immunity applies:

 “(1) whether the facts, viewed in a light most favorable to the injured party, demonstrate that the

 conduct of the [defendant] violated a constitutional right, and (2) whether that right was clearly

 established at the time the conduct occurred.” Hardaway, 734 F.3d at 743 (citing Pearson v.

 Callahan, 555 U.S. 223, 232 (2009)). “To be ‘clearly established,’ a right must be defined so

 clearly that every reasonable official would have understood that what he was doing violated that

 right.” Dibble v. Quinn, 793 F.3d 803, 808 (7th Cir. 2015). “The right allegedly violated must be

 established not as a broad general proposition but in a particularized sense so that the contours of

 the right are clear to a reasonable official.” Id. (internal quotation marks omitted); White v. Pauly,

 ___ U.S. ___, 137 S. Ct. 548, 552 (2017)(quoting Ashcroft v. al-Kidd, 563 U.S. 731, 742 (2011)).

        The plaintiff bears the burden of showing that the constitutional right at issue was clearly

 established. Doe v. Village of Arlington Heights, 782 F.3d 911, 915 (7th Cir. 2015). To meet this

 burden, the plaintiff must establish that the alleged misconduct was an obvious violation of a

 constitutional right or that a court has upheld the purported right in a factually similar case. Id. In

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 some instances, “a general constitutional rule already identified in the decisional law may apply

 with obvious clarity to the specific conduct in question.” Kristofek, 832 F.3d at 798 (quoting Hope

 v. Pelzer, 536 U.S. 730, 741 (2002)). Previous cases need not be “fundamentally similar” or “on

 all fours” with the present facts before defendants will be held to know that their conduct was

 unlawful. McGreal v. Ostrov, 368 F.3d 657, 683 (7th Cir. 2004).

        As explained in his other summary judgment briefs and supra, the facts show that

 Defendants retaliated against him because of his religious beliefs and the expression of those

 religious beliefs. At all times relevant to this case, “the law [wa]s settled that . . . the First

 Amendment prohibits government officials from subjecting an individual to retaliatory actions for

 speaking out.” Thayer v. Chiczewski, 705 F.3d 237, 251 (7th Cir. 2012)(quoting Hartman v. Moore,

 547 U.S. 250, 256 (2006)); Woodruff v. Mason, 542 F.3d 545, 551 (7th Cir. 2008)(explaining that

 because the First Amendment protects the “right to petition the government for the redress of

 grievances,” a state agency’s “growing hostility” and actions “to drive [a regulated entity] out of

 business” as a result of the entity’s “numerous challenges to the state regulatory scheme” would

 violate the First Amendment). Therefore, Defendants are not immune from this suit based upon

 the doctrine of qualified immunity.




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        WHEREFORE, Plaintiff Harry Kevin Wade, by counsel and pursuant to Federal Rule of

 Civil Procedure 56 and Local Rule 56.1, respectfully moves the Court to enter judgment in his

 favor and against Defendants on his First Amendment retaliation claim as alleged in his Third

 Amended Complaint, ask the Court to deny Defendants’ cross-motion for summary judgment, ask

 the Court to set this matter for trial on the issue of damages, and asks the Court to grant him all

 other just and proper relief.



                                              Respectfully submitted,

                                              /s/ Mark R. Waterfill

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                                 CERTIFICATE OF SERVICE

        I certify that a true and accurate copy of the foregoing document was sent to all counsel of

 record via the Court’s electronic filing system on this 2nd day of November 2020.



                                                      /s/ Mark R. Waterfill
                                                      Mark R. Waterfill, Atty. No. 10935-49




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